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5    Attorneys for Defendant
     DAVID E. JOPSON
6

7
               IN THE UNITED STATES MAGISTRATE COURT FOR THE
8
                        EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES GOVERNMENT,     )         2:11 CR 275 JAM
11                                 )
               Plaintiff,          )
12                                 )         STIPULATION AND
          v.                       )         ORDER MODIFYING CONDITIONS OF
13                                 )         RELEASE
     DAVID E. JOPSON &             )
14                                 )
     THOMAS W. JOPSON              )
15                                 )
               Defendants.         )
16   ______________________________)

17
          David E. Jopson, by and through his attorney, John R. Manning,
18
     Esq., Thomas W. Jopson, by and through his attorney, William J.
19
     Portanova, Esq., the United States of America, by and through its
20
     counsel, Assistant United States Attorney, Samuel Wong, and Pretrial
21
     Services Officer Beth Wetteland, hereby jointly agree and stipulate
22
     the defendants (David E. Jopson and Thomas W. Jopson)shall no longer
23
     be supervised by Pretrial Services.       The following, previously
24
     imposed condition, shall remain in effect:
25
     "You shall surrender your passport to the Clerk of the U.S. District
26
     Court and obtain no passport or travel documents during the pendency
27
     of this case." (Both defendants have already surrendered their
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1
     passports.)
2
         Additionally, the secured bonds previously filed on behalf of
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     each defendant, respectively, shall remain in effect.
4
         Accordingly, all parties including Mr. David E. Jopson and Mr.
5
     Thomas W. Jopson agree with the above modifications.
6

7
     Dated: July 18, 2014                       Respectfully submitted,
8

9                                                s/John R. Manning
                                                John R. Manning
10                                              Attorney for Defendant
                                                David E. Jopson
11

12   Dated: July 18, 2014                       s/William J. Portanova
                                                William J. Portanova
13                                              Attorney for Defendant
                                                Thomas W. Jopson
14

15
     Dated: July 18, 2014                       Benjamin B. Wagner
16                                              United States Attorney

17                                        by:   /s/ Samuel Wong     ____
                                                Samuel Wong
18                                              Assistant U.S. Attorney
19

20   IT IS SO ORDERED.

21   Dated:     July 24, 2014

22

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24

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